              Case 2:10-cr-20057-PKH Document 262   Filed 09/19/12 Page 1 of 1 PageID #: 855



                                IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF ARKANSAS
                                         FORT SMITH DIVISION

                UNITED STATES OF AMERICA                                         PLAINTIFF

                V.                         NO. 10CR20057-005

                URIEL LIRA-PEREZ                                                 DEFENDANT


                                               O R D E R

                      On this 19th day of September 2012, there comes on for

                consideration the report and recommendation filed in this case

                on August 31, 2012, by the Honorable James R. Marschewski,

                United States Magistrate for the Western District of Arkansas.

                (Doc. 260).     No objections were filed.

                      The court has reviewed this case and, being well and

                sufficiently    advised,    finds   as   follows:       The   report    and

                recommendation is proper and should be and hereby is adopted in

                its entirety.    Accordingly, Defendant’s pro se Motion to Dismiss

                (Doc. 256) is DENIED.

                      IT IS SO ORDERED.

                                                    /s/ Robert T. Dawson
                                                    Honorable Robert T. Dawson
                                                    United States District Judge




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(Rev. 8/82)
